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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No.: 21-cv-02063-CNS-SBP

CITY OF FORT COLLINS,

       Plaintiff/Counterclaim Defendant,

v.

OPEN INTERNATIONAL, LLC,
       Defendant/Counterclaim Plaintiff,

and

OPEN INVESTMENTS, LLC,

      Defendant.
______________________________________________________________________________

 OPEN INTERNATIONAL, LLC’s OBJECTIONS TO MAGISTRATE JUDGE PROSE’S
   ORDER GRANTING PLAINTIFF’S MOTION TO ALLOW REGISTRATION OF
                      JUDGMENT IN OTHER DISTRICTS
______________________________________________________________________________

       Pursuant to Fed. R. Civ. P. 72(a), Defendant Open International, LLC submits the

following Objections to Magistrate Judge Susan B. Prose’s Order Granting Plaintiff’s Motion to

Allow Registration of Judgment Against Open International, LLC, in Other Districts (ECF No.

387), which was entered on January 31, 2025, and states as follows:

                                       BACKGROUND

       The City has a judgment against Open International, LLC and its parent company, Open

Investments, LLC, but that judgment is on appeal to the Tenth Circuit and its execution is stayed

as to the parent company. The subsidiary has not posted a bond or other security to obtain a stay

of its own because it lacks the assets to do so. Nonetheless, the City moved to have the judgment


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against the subsidiary registered in the District of Oregon and the Southern District of Florida

pursuant to 28 U.S.C. § 1963. (Doc. 380). Open International LLC objects to that proceeding

because, in so moving, the City impermissibly attached communications among the parties

meant to compromise a dispute, in violation of Fed. R. Evid 408. Further, Open International

LLC contends that it has shown that it has no substantial assets in those or any other districts.

But, on January 31, 2025, Magistrate Judge Prose entered an Order granting Plaintiff’s Motion to

Register the Judgment against Open International LLC in those Districts. (Doc. 387).

Respectfully, Open International LLC now lodges these objections because Judge Prose’s order

contains certain factual inaccuracies resulting from the City’s misleading presentation in its

motion papers.

                                           ARGUMENT

         Magistrate judges are authorized to hear and determine any non-dispositive matter

referred to them. Fed. R. Civ. P. 72(a). The district court can modify or set aside a magistrate

judge’s order on a non-dispositive matter if the order is clearly erroneous or contrary to law.

Hutchinson v. Pfeil, 105 F.3d 562, 566 (10th Cir. 1997). An order is clearly erroneous when,

“although there is evidence to support it, the reviewing court on the entire evidence is left with

the definite and firm conviction that a mistake has been made.” Hirschfield v. New Mexico

Corrs. Dep’t, 916 F.2d 572, 580 (10th Cir. 1990). The “contrary to law” standard allows plenary

review as to matters of law, and this Court will set aside a magistrate judge’s order if it applied

the wrong legal standard or applied the appropriate legal standard incorrectly. Residences at Olde

Town Square Ass’n v. Travelers Cas. Ins. Co. of. Am., 413 F. Supp. 3d 1070, 1072 (D. Colo.

2019).


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I.     Open International LLC respectfully submits that the finding that it has substantial
       assets in Oregon and/or the Southern District of Florida is clearly erroneous
       because, due to the City’s overly-aggressive post-judgment litigation tactics, Open
       International LLC has only one client left.

       A. Oregon

       Open International LLC’s only asset is the revenue stream from its single remaining

client: Tualatin Valley Water District. (Doc. 385-1 at 5). Further, Judge Prose’s finding that there

is $1.2 million (1/5 of $6 million) remaining on the Tualatin revenue stream (Doc. 387 at 7) is

erroneous and apparently based on a misunderstanding of the evidence. In reality, the

implementation phase of the Tualatin $6 million contract was completed over two years ago, and

all that remains is a few months’ worth of significantly smaller amounts for support and

managed services, at which point the payments will cease. See (Doc. 385-1) (explaining that the

five-year contract began in October 2020)).

       The City’s papers also presented a mistaken description of the ownership interests across

the suite of “Open” companies, which was adopted in Magistrate Pose’s order, which says that

“Open International does not dispute that both companies [Open International LLC and its

Colombian sibling] are controlled by the same individual the City identifies.” (Doc. 387 at 7).

Mr. Corredor is not the owner of either entity. He is the CEO of Open Investments LLC. Open

Investments LLC owns 100% of its Colombian affiliate and 80% of Open International LLC. A

contractual relationship between them is not nullified or denied priority merely because of some

shared ownership interests across the two. Moreover, Hernando Parrott is the president of Open

International LLC, and it is he who runs the operations of the business. Further, Mr. Parrott is not

a principal of the parent company, Open Investments, LLC or has any position in the Colombian



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affiliate. All of this is part of the record in this case, though it was not properly presented in the

City’s motion or briefing.

        B. Florida

        The Florida-based bank account of Open International LLC does not provide the basis for

execution of the judgment in that state. Federal courts must follow the forum state’s law when

enforcing judgments, Fed. R. Civ. P. 69, and Florida law requires that judgment liens be

enforced only through judicial processes, and strictly forbids “self-help repossession or replevin

without a court order.” Fla. Stat. § 55.205(6). And there has been no determinations as to the

superiority of various parties’ claims to the asset. (Doc. 387 at 7), Florida law, however, does

provide some guidance on this point. See Fla. Stat. § 55.202(2)(a)(1) (discussing priority rights

of judgment lienholders).

        Importantly, Open International LLC’s bank statements show that (1) It has only one

reliable outside revenue stream—coming from the Tualatin payments.; and (2) those payments

are insufficient to cover expenses, as most of that money is already earmarked for payments to

Open International LLC’s existing subcontractors and loans from Open Investments LLC to

cover the shortfall. (Docs. 385-2, 385-3).

        It is important to keep in mind that the purpose of Section 1963 is to ensure that judgment

creditors can “satisfy the judgment.” Siegel, Commentary on 1988 Revision, 28 U.S.C. § 1963.

That being the case, the only reasonable interpretation of the term “substantial assets” means

“substantial assets that are available to be collected,” or, in other words, assets that are not

otherwise earmarked. After the necessary payments are made under contracts that pre-date any

judgment lien filed by the City, the remaining assets will not be “substantial.” See Schreiber v.


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Kellogg, 839 F. Supp. 1157, 1160–61 (E.D. Pa. 1993), superseded on other grounds as

recognized by 586 F. Supp. 3d 328, 330 (E.D. Pa. 2022) (recognizing that, where judgment

debtor had very few attachable assets, it would be pure speculation to conclude that he would

have “sufficient available assets” to satisfy the judgment); JPMorgan Chase Bank, N.A. v. Asia

Pulp & Paper Co., Ltd., 707 F.3d 853, 868 (7th Cir. 2013) (“The purpose of the postjudgment

proceedings is to discover assets that might be available to satisfy the judgment, and . . . to

execute on those assets.”). In other words, to allow the City to prevail on its collection efforts

while this appeal is pending will be the death knell of Open International LLC and ironically will

deprive the City of any hope of further collection efforts as well as deprive other creditors of

their due. Simply put, the City’s motion is not only ill-conceived and flawed in its factual

recitations, it runs counter to the aims of the statute itself.

        For these reasons, Open International LLC respectfully requests further review of the

Magistrate’s order granting the City leave to register the judgment in the District of Oregon and

the Southern District of Florida.

II.     The City’s motion relied on inadmissible evidence, and the City should not be
        rewarded for that misconduct.

        Finally, the order granting the City’s Motion to Register the Judgment was based, at least

in part, on confidential compromise communications between William Corredor and City

officials that, per FRE 408, the Court should not have considered. (See Doc. 380-5 (filed under

seal)). The City and its counsel completely disregarded FRE 408’s prohibition on misuse of an

opposing party’s statements made in an attempt to compromise a dispute, and that overture of

reconciliation from Mr. Corredor improperly informed the basis for the Magistrate’s Order. The

City should not be rewarded for engaging in this impermissible and unprofessional conduct—but

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the order in its favor on the registration of judgment issue does just that. Accordingly, Open

International LLC respectfully requests a reconsideration of the order granting the City leave to

register the judgment in Oregon and in Florida.

                                         CONCLUSION

       For the foregoing reasons, Open International LLC respectfully requests that the Court

review its Objections, set aside the January 31, 2025, Order allowing the City to register the

judgment in Oregon and Florida, and enter an order denying Plaintiff’s Motion to Register the

Judgment.



Dated: February 14, 2025                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this February 14, 2025, the foregoing was electronically filed with

the Clerk of Court using the Court’s electronic filing system and that a copy of the foregoing was

sent to all counsel of record via same in compliance with the Federal Rules of Civil Procedure

and the Local Rules of this Court.

                                                            /s/ Laurie Webb Daniel
                                                            Laurie Webb Daniel
                                                            Webb Daniel Friedlander LLP




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